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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                               )        Chapter 11
                                                     )
ODI Oldco, Inc., et al.,1                            )        Case No. 24-05385
                                                     )        (Jointly Administered)
                          Debtors.                   )
                                                     )        Honorable David D. Cleary
                                                     )

           NOTICE OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES
          ASSUMED AND ASSIGNED PURSUANT TO SALE APPROVAL ORDER

       PLEASE TAKE NOTICE that, pursuant to the Order (A) Approving the Sale of
Substantially All of the Assets of the Debtors Free and Clear of Interests Including Liens, Claims,
and Encumbrances; (B) Authorizing the Assumption and Assignment of Executory Contracts and
Unexpires Leases; and (C) Granting Related Relief (ECF No. 231, the “Sale Approval Order”),
the debtors in the above-captioned jointly administered bankruptcy cases have assumed and
assigned the executory contracts and unexpired leases listed in the attached Exhibit A to
Hoffmann Dairy, LLC, a Missouri limited liability company, or its designees. This notice is filed
in accordance with paragraph 23 of the Sale Approval Order.

                                            Respectfully submitted,

                                            ODI OLDCO, INC.;
                                            TOGI OLDCO, INC.;
                                            NORTH AURORA ICE CREAM, LLC;
                                            TOGI RE I, LLC;
                                            THIRD MILLENNIUM REAL ESTATE L.L.C.; and
                                            TOGI BRANDS, LLC

                                            By: /s/ Alexander F. Brougham
                                                    One of their attorneys

HOWARD L. ADELMAN, ESQ. (ARDC# 0015458)
ADAM P. SILVERMAN, ESQ. (ARDC #6256676)
ALEXANDER F. BROUGHAM, ESQ. (ARDC #6301515)
TEVIN D. BOWENS, ESQ. (ARDC #6338559)
ADELMAN & GETTLEMAN, LTD.
53 West Jackson Blvd., Suite 1050

1
 The Debtors in this case, and the last four digits of their respective federal employer identification numbers, are
ODI Oldco, Inc., f/k/a Oberweis Dairy, Inc. (‘7516); TOGI Oldco, Inc. f/k/a The Oberweis Group, Inc. (‘1378);
North Aurora Ice Cream, LLC (‘8506); TOGI RE I, LLC (‘5952); Third Millennium Real Estate L.L.C. (‘1589); and
TOGI Brands, LLC (‘7202).


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Chicago, Illinois 60604
Tel (312) 435-1050
Fax (312) 435-1059
Counsel for the Debtors




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       Exhibit A: Assumed and Assigned Executory Contracts and Unexpired Leases

No.   Party Name and Address               Description                Cure Amount
1.    7SHIFTS                              SOFTWARE LICENSING         $0.00
      200-701 BROADWAY AVE
      SASKATOON, SK S7N1B3
      CANADA
2.    ADP                                  THIRD PARTY PROVIDER       $0.00
      233 S WACKER DRIVE                   (BENEFITS, PAYROLL,
      CHICAGO, IL 60606                    FREIGHT)
3.    AFS TECHNOLOGIES                     SOFTWARE LICENSING         $39,353.00
      5201 W. KENNEDY BLVD #200
      TAMPA, FL 33609
4.    AMAZON                               SOFTWARE LICENSING         $0.00
      410 TERRY AVENUE NORTH
      SEATTLE, WA98109
5.    AMS MECHANICAL SYSTEMS, INC.         PROFESSIONAL SERVICE       $42,758.90
      C/O TRAVIS ELIASON, JOE              CONTRACT
      ARCHAMBEAU
      CLARK HILL
      130 E. RANDOLPH ST., SUITE 3900
      CHICAGO, IL 60601
6.    ASSOCIATED MATERIAL HANDLING         LEASE: EQUIPMENT           $67,686.00
      INDUSTRIES INC
      C/O CHARLES STAHL
      SWANSON, MARTIN & BELL, LLP
      2525 CABOT DRIVE, SUITE 204
      LISLE, IL 60532
7.    BARTLETT ICE CREAM, LLC              REAL PROPERTY LEASE:       $42,692.00
      C/O DANIEL BROWN                     925 S. ROUTE 59,
      WILLIAMS BARBER MOREL                BARTLETT, IL
      233 S. WACKER DR, STE 6800
      CHICAGO, IL 60606
8.    BARTLETT ICE CREAM, LLC              REAL PROPERTY LEASE:       $34,131.29
      C/O DANIEL BROWN                     1790 WEST MAIN STREET,
      WILLIAMS BARBER MOREL                ST. CHARLES, IL
      233 S. WACKER DR, STE 6800
      CHICAGO, IL 60606
9.    BOSSDESK                             SOFTWARE LICENSING         $0.00
      350 RESEARCH CT, STE 110
      PEACHTREE CORNERS, GA 30092
10.   BROWN AND SONS' FOODLINER, INC.      REAL PROPERTY LEASE:       $3,396.00
      20 ALLEN AVE., SUITE 40              10338 MANCHESTER ROAD
      WEBSTER GROVES, MO 63119             KIRKWOOD, MO
11.   C/O RDD ASSOCIATES                   PROFESSIONAL SERVICE       $0.00
      930 RIVERVIEW DRIVE, SUITE 400       CONTRACT
      TOTOWA, NJ 07512
12.   CASWELL TOWN CENTER, LLC             REAL PROPERTY LEASE:       $3,892.00
      2617 BEACON HILL DRIVE               6854 ROCHESTER ROAD,
      AUBURN HILLS, MI 48236               TROY, MI


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No.   Party Name and Address            Description                Cure Amount
13.   CDW DIRECT, LLC                   SOFTWARE LICENSING         $471.00
      P.O. BOX 75723
      CHICAGO, IL 60675-5723
14.   CHASE CREDIT CARDS                BANKING SERVICE            $0.00
      CARDMEMBER SERVICES               AGREEMENT
      P.O. BOX 6294
      CAROL STREAM, IL 60197
15.   COMCAST CABLE                     VENDOR AGREEMENT           $5,963.00
      P.O. BOX 3005
      SOUTHEASTERN, PA 19398-3005
16.   DARIFILL                          LEASE: EQUIPMENT           $77,630.00
      750 GREEN CREST DRIVE
      WESTERVILLE, OH 43081
17.   DAVID ALLEN JOHNSON               LEASE OF REAL              $0.00
      925 BURLINGTON AVE, EAST APT.     PROPERTY: 925
      WESTERN SPRINGS, IL 60558         BURLINGTON AVE,
                                        WESTERN SPRINGS, IL
                                        (RESIDENTIAL SPACE)
18.   DAVID GREGORY                     REAL PROPERTY LEASE:       $2,424.00
      209 AMENDODGE DRIVE               2200 ILLINOIS RTE 59 I,
      SHOREWOOD, IL 60431               PLAINFIELD, IL
19.   DELTA DENTAL OF ILLINOIS          THIRD PARTY PROVIDER       $0.00
      111 SHUMAN BLVD.                  (BENEFITS, PAYROLL)
      NAPERVILLE, IL 60563
20.   DUTCH FARMS                       DISTRIBUTION               $0.00
      700 E. 107TH STREET               AGREEMENT
      CHICAGO, IL 60628
21.   ECOLAB PEST ELIMINATION           PEST ELIMINATION           $9,482.48
      26252 NETWORK PLACE               SERVICES AGREEMENT,
      CHICAGO, IL 60673-1262            EFFECTIVE AS OF
                                        DECEMBER 1, 2019
22.   ECOLAB INC INSTITUTION            PRODUCT AND SERVICES       $70,376.97
      70343 NETWORK PLACE               SUPPLY AGREEMENT,
      CHICAGO, IL 60673-1703            EFFECTIVE AS OF
                                        DECEMBER 1, 2019, AND
                                        PRODUCT AND SERVICES
                                        SUPPLY AGREEMENT,
                                        EFFECTIVE AS OF
                                        DECEMBER 1, 2019
23.   FEDERAL MILK MARKET               VENDOR AGREEMENT           $0.00
      PO BOX 4469
      LISLE, IL 60532
24.   FIDELITY ASSOCIATES LLLP          REAL PROPERTY LEASE:       $2,386.00
      C/O SWM REAL ESTATE MGT. CO       15021 MANCHESTER RD.,
      1795 CLARKSON-SUITE 190           BALLWIN, MO
      CHESTERFIELD, MO 63017
25.   FLEETSOFT                         SOFTWARE LICENSING         $0.00
      2500 DALLAS PKWY #498
      PLANO, TX 75093



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No.   Party Name and Address           Description                Cure Amount
26.   FLEETSOFT LLC                    SOFTWARE LICENSING         $0.00
      6009 W. PARKER RD. #149-250
      PLANO, TX 75093
27.   FLUID-AIRE DYNAMICS, INC.        LEASE: EQUIPMENT           $13,148.00
      530 ALBION AVE
      SCHAUMBURG, IL 60193
28.   FOX METRO WATER RECLAMATION      WATER SERVICE              $34,854.00
      DIST
      682 STATE ROUTE 31
      OSWEGO, IL 60543-4394
29.   GODADDY                          SOFTWARE LICENSING         $0.00
      2155 E GODADDY WAY
      TEMPE, AZ 85284
30.   GROUPRAISE.COM INC               SOFTWARE LICENSING         $0.00
      16327 PAITER STREET
      HOUSTON, TX 77053
31.   HAPPY COWS LLC                   FRANCHISE AGREEMENT        $0.00
      2395 N. 5000W ROAD
      KANKAKEE, IL 60901
32.   PEAK PROPERTIES                  REAL PROPERTY LEASE:       $2,508.00
      4858 N. HERMITAGE                3055 NORTH SHEFFIELD
      CHICAGO, IL 60640                AVENUE, CHICAGO, IL
33.   ILLINOIS LICENSE SERVICES, INC   PROFESSIONAL SERVICE       $0.00
      800 RAVINIA PLACE                CONTRACT
      ORLAND PARK, IL 60462
34.   TALKA HOLDINGS, LLC              REAL PROPERTY LEASE:       $41,850.00
      C/O DANIEL BROWN                 30 S. ROSELLE RD,
      WILLIAMS BARBER MOREL            SCHAUMBURG, IL
      233 S. WACKER DR, STE 6800
      CHICAGO, IL 60606
35.   JAMES D OBERWEIS LIVING TRUST    REAL PROPERTY LEASE:       $41,601.20
      C/O DANIEL BROWN                 840 ICE CREAM DRIVE,
      WILLIAMS BARBER MOREL            NORTH AURORA, IL
      233 S. WACKER DR, STE 6800
      CHICAGO, IL 60606
36.   KEYSTONE LAKE ZURICH, LLC        REAL PROPERTY LEASE:       $3,122.00
      C/O MICHAEL BOXERMAN             684 S. RAND ROAD, LAKE
      20 N. CLARK ST.,    SUITE 3300   ZURICH, IL
      CHICAGO, IL 60602
37.   KONICA MINOLTA BUSINESS          LEASE: EQUIPMENT           $1,311.00
      SOLUTION
      DEPT. CH 19188
      PALATINE, IL 60055-9188
38.   KONICA/MINOLTA BUSINESS SOL.     SOFTWARE LICENSING         $1,832.00
      21146 NETWORK PLACE
      CHICAGO, IL 60673-1211
39.   LEXINGTON SQUARE, LLC            REAL PROPERTY LEASE:       $3,381.00
      1 E. 22ND STREET, SUITE 201      1018 S. YORK RD.,
      LOMBARD, IL 60148                ELMHURST, IL


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40.   LGF CAPITAL, LLC                   REAL PROPERTY LEASE:       $2,511.00
      248 FOSTER DRIVE                   2274 ROUTE 30, OSWEGO,
      OSWEGO, IL 60543                   IL (UNIT C), OSWEGO, IL
41.   LINCOLN CARRYOUT, INC.             LEASE OF REAL              $0.00
      6836 N. SHERIDAN ROAD              PROPERTY: 6485 NORTH
      ATTN: STEVE DAOULAS                LINCOLN AVENUE,
      CHICAGO, IL 60626                  LINCOLNWOOD, IL
42.   MAILFINANCE                        LEASE: EQUIPMENT           $0.00
      25881 NETWORK PL
      CHICAGO, IL 60673-1258
43.   MATRIX TRUST COMPANY               THIRD PARTY PROVIDER       $0.00
      P.O. BOX 1800                      (BENEFITS, PAYROLL)
      DENVER, CO 80202
44.   MICROMONT HOLDINGS 8, LLC          REAL PROPERTY LEASE:       $2,585.00
      8140 WALNUT HILL LANE              400 SOUTH RANDALL
      ATTN: COD                          ROAD, SUITE A, ELGIN, IL
      DALLAS, TX 75231
45.   MID COUNTY INVESTORS, L.L.C.       REAL PROPERTY LEASE:       $1,885.00
      C/O MANNION PROPERTIES, L.L.C.     8415-8419 MID COUNTY
      8001 CLAYTON ROAD                  INDUSTRIAL DRIVE,
      ST. LOUIS, MO 63117                VINITA PARK, MO
46.   MOOD MEDIA                         VENDOR AGREEMENT           $21,547.00
      2100 S IH-35 FRONTAGE ROAD
      SUITE 201
      AUSTIN, TX 78704
47.   NAPERVILLE ASSOCIATES, LLC         REAL PROPERTY LEASE:       $2,651.00
      3201 OLD GLENVIEW RD.              760 NORTH ROUTE 59
      SUITE 235                          NAPERVILLE, IL
      WILMETTE, IL 60091
48.   NEIMAN BROTHERS COMPANY, INC.      PURCHASE CONTRACT          $0.00
      3322 WEST NEWPORT AVE
      CHICAGO, IL 60618
49.   NORTHAMERICAN CONCESSIONS,         LICENSE AGREEMENT          $0.00
      INC.
      5680 S. ARCHER AVENUE, SUITE 201
      CHICAGO, IL 60638
50.   OAKVILLE ICE CREAM LLC             REAL PROPERTY LEASE:       $20,130.32
      C/O DANIEL BROWN                   4568 & 4590 TELEGRAPH
      WILLIAMS BARBER MOREL              RD., ST. LOUIS, MO
      233 S. WACKER DR, STE 6800
      CHICAGO, IL 60606
51.   ONE DIGITAL HEALTH BENEFITS        THIRD PARTY PROVIDER       $0.00
      P.O. BOX 734429                    (BENEFITS, PAYROLL)
      DALLAS, TX 75373-4429
52.   ORLAND PARK ICE CREAM, LLC         REAL PROPERTY LEASE:       $29,826.60
      C/O DANIEL BROWN                   7202 W. 159TH ST.,
      WILLIAMS BARBER MOREL              ORLAND PARK, IL
      233 S. WACKER DR, STE 6800
      CHICAGO, IL 60606



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53.   PARK RIDGE PLAZA LLC                 REAL PROPERTY LEASE:        $950.00
      P.O. BOX 734429                      101 SOUTH NORTHWEST
      DALLAS, TX 75373-4429                HIGHWAY, PARK RIDGE,
                                           IL
54.   PAYTRONIX SYSTEMS, INC.              BANKING SERVICE             $12,131.00
      80 BRIDGE ST                         AGREEMENT
      NEWTON, MA 02458
55.   POINTE DAIRY SERVICES, INC.          DISTRIBUTION                $0.00
      2716 AMERICAN DR.                    AGREEMENT
      ATTN: ALEX SELVAGGIO
      TROY, MI 48083
56.   PURE POWER GENERATORS                VENDOR AGREEMENT            $0.00
      1872 TECHNY COURT
      NORTHBROOK, IL 60062
57.   RING CENTRAL INC                     LEASE: EQUIPMENT            $8,096
      DEPT. CH 19585
      PALATINE, IL 60055-9585
58.   RIVEROAKS PROPERTIES, LLC            REAL PROPERTY LEASE:        $3,504
      1700 E WEST RD                       11310-12 W LINCOLN HWY,
      CALUMET CITY, IL 60409               MOKENA, IL
59.   ROLLING MEADOWS ICE CREAM LLC        REAL PROPERTY LEASE:        $15,405.55
      C/O DANIEL BROWN                     1735 ALGONQUIN ROAD,
      WILLIAMS BARBER MOREL                ROLLING MEADOWS, IL
      233 S. WACKER DR, STE 6800
      CHICAGO, IL 60606
60.   SCHERERVILLE MAIN STREET, LLC        REAL PROPERTY LEASE:        $3,393.00
      C/O CLOVERLEAF                       725 MAIN ST.,
      666 DUNDEE RD., SUITE 9              SCHERERVILLE, IN
      NORTHBROOK, IL 60062
61.   SHANNON M. LESLIE                    LEASE OF REAL               $0.00
      925 BURLINGTON AVE, WEST APT.        PROPERTY: 925
      WESTERN SPRINGS, IL 60558            BURLINGTON AVE,
                                           WESTERN SPRINGS, IL
                                           (RESIDENTIAL SPACE)
62.   ST. JOHN PROPERTIES, LLC             REAL PROPERTY LEASE:        $1,204.00
      P.O. BOX 62705                       9803/9805 S. 13TH STREET,
      BALTIMORE, MD 21264                  OAK CREEK, WI
63.   TOAST INC.                           SOFTWARE LICENSING          $0.00
      401 PARK DRIVE, SUITE 801
      BOSTON, MA 02215
64.   TOUCHTUNES                           VENDOR AGREEMENT            $1,485.00
      730 THIRD AVE, SUITE 21ST FLOOR
      NEW YORK, NY 10017
65.   VEK INVESTMENTS, LLC                 REAL PROPERTY LEASE:        $3,830.00
      P.O. BOX 9111                        572 GRAND AVENUE,
      GURNEE, IL 60031                     SUITE 1, GURNEE, IL




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No.    Party Name and Address                         Description                        Cure Amount
66.    WOODWARD SAMOSET ASSOCIATES                    REAL PROPERTY LEASE:               $5,571.82
       LLC                                            32808 WOODWARD
       C/O HARVEY WEISS                               AVENUE, ROYAL OAK, MI
       32820 WOODWARD AVENUE, SUITE
       200 ROYAL OAK, MI 48073
67.    WOOLPERT                                       SOFTWARE LICENSING                 $0.00
       P.O. BOX 714874
       CINCINNATI, OH 45271-4874
68.    WOOLPERT                                       SOFTWARE LICENSING                 $0.00
       P.O. BOX 714874
       CINCINNATI, OH 45271-4874
69.    YEXT                                           SOFTWARE LICENSING                 $8,114.00
       1 MADISON AVE. 5TH FLOOR
       NEW YORK, NY 10010
70.    ZENCOS CONSULTING, LLC.                        SOFTWARE LICENSING                 $10,500.00
       1400 CRESCENT GREEN STE 215
       CARY, NC 27518-8118
71.    ZOOM VIDEO COMMUNICATIONS INC                  SOFTWARE LICENSING                 $659.00
       P.O. BOX 888843
       LOS ANGELES, CA 90088-8843

72.    FOREMOST FARMS USA                             PURCHASE CONTRACT                  $120,117.08
       C/O JUSTIN MERTZ
       MICHAEL BEST
       790 N WATER ST., SUITE 2500
       MILWAUKEE, WI 53202
73.    NORTH AURORA ICE CREAM, LLC                    REAL PROPERTY LEASE:               $0.00
       C/O ADAM P. SILVERMAN                          951 ICE CREAM DRIVE,
       ADELMAN & GETTLEMAN, LTD.                      NORTH AURORA, IL
       53 W. JACKSON BLVD., SUITE 1050
       CHICAGO, IL 60604
74.    NORTH AURORA ICE CREAM, LLC                    REAL PROPERTY LEASE:               $0.00
       C/O ADAM P. SILVERMAN                          4811 DEMPSTER ROAD,
       ADELMAN & GETTLEMAN, LTD.                      SKOKIE, IL
       53 W. JACKSON BLVD., SUITE 1050
       CHICAGO, IL 60604
75.    NORTH AURORA ICE CREAM, LLC                    REAL PROPERTY LEASE:               $0.00
       C/O ADAM P. SILVERMAN                          929 BURLINGTON AVE.,
       ADELMAN & GETTLEMAN, LTD.                      WESTERN SPRINGS, IL
       53 W. JACKSON BLVD., SUITE 1050
       CHICAGO, IL 60604
76.    OBERWEIS DAIRY, INC.                           LEASE OF REAL                      $45,562.00*
       C/O ADAM P. SILVERMAN                          PROPERTY: 951 ICE
       ADELMAN & GETTLEMAN, LTD.                      CREAM DRIVE, NORTH
       53 W. JACKSON BLVD., SUITE 1050                AURORA, IL
       CHICAGO, IL 60604

*
 To preclude a double payment, all inter-debtor cure payments were returned to the payors because the amounts
owed—consisting of real-estate taxes—were paid in connection with the sale.


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77.    OBERWEIS DAIRY, INC.                           LEASE OF REAL                      $33,333.00*
       C/O ADAM P. SILVERMAN                          PROPERTY:4811 W.
       ADELMAN & GETTLEMAN, LTD.                      DEMPSTER ST., SKOKIE, IL
       53 W. JACKSON BLVD., SUITE 1050
       CHICAGO, IL 60604
78.    OBERWEIS DAIRY, INC.                           LEASE OF REAL                      $6,031.00*
       C/O ADAM P. SILVERMAN                          PROPERTY: 925
       ADELMAN & GETTLEMAN, LTD.                      BURLINGTON AVE,
       53 W. JACKSON BLVD., SUITE 1050                WESTERN SPRINGS, IL
       CHICAGO, IL 60604                              (RETAIL SPACE)
79.    OBERWEIS DAIRY, INC.                           REAL PROPERTY LEASE:               $16,075.00*
       C/O ADAM P. SILVERMAN                          515 ROOSEVELT ROAD,
       ADELMAN & GETTLEMAN, LTD.                      GLEN ELLYN, IL
       53 W. JACKSON BLVD., SUITE 1050
       CHICAGO, IL 60604
80.    OBERWEIS DAIRY, INC.                           REAL PROPERTY LEASE:               $27,276.00*
       C/O ADAM P. SILVERMAN                          860 EAST BOUGHTON RD.,
       ADELMAN & GETTLEMAN, LTD.                      BOLINGBROOK IL
       53 W. JACKSON BLVD., SUITE 1050
       CHICAGO, IL 60604
81.    OBERWEIS DAIRY, INC.                           LEASE OF REAL                      $0.00
       C/O ADAM P. SILVERMAN                          PROPERTY: 6465-69 NORTH
       ADELMAN & GETTLEMAN, LTD.                      LINCOLN AVENUE,
       53 W. JACKSON BLVD., SUITE 1050                LINCOLNWOOD, IL
       CHICAGO, IL 60604
82.    OBERWEIS DAIRY, INC.                           LEASE OF REAL                      $37,127.00*
       C/O ADAM P. SILVERMAN                          PROPERTY: 9 EAST
       ADELMAN & GETTLEMAN, LTD.                      DUNDEE RD., ARLINGTON
       53 W. JACKSON BLVD., SUITE 1050                HEIGHTS, IL
       CHICAGO, IL 60604
83.    OBERWEIS DAIRY, INC.                           LEASE OF REAL                      $15,829.00*
       C/O ADAM P. SILVERMAN                          PROPERTY: 965/975
       ADELMAN & GETTLEMAN, LTD.                      GLENVIEW RD.,
       53 W. JACKSON BLVD., SUITE 1050                GLENVIEW, IL
       CHICAGO, IL 60604
84.    ODI/BRANDS/TOGI                                LICENSE OF IP                      $0.00
       C/O ADAM P. SILVERMAN
       ADELMAN & GETTLEMAN, LTD.
       53 W. JACKSON BLVD., SUITE 1050
       CHICAGO, IL 60604
85.    THIRD MILLENNIUM REAL ESTATE                   REAL PROPERTY LEASE: 9             $0.00
       L.L.C.                                         E. DUNDEE RD.,
       C/O ADAM P. SILVERMAN                          ARLINGTON HEIGHTS, IL
       ADELMAN & GETTLEMAN, LTD.
       53 W. JACKSON BLVD., SUITE 1050
       CHICAGO, IL 60604


*
 To preclude a double payment, all inter-debtor cure payments were returned to the payors because the amounts
owed—consisting of real-estate taxes—were paid in connection with the sale.


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86.    THIRD MILLENNIUM REAL ESTATE                   REAL PROPERTY LEASE:               $0.00
       L.L.C.                                         967 WAUKEGAN RD.,
       C/O ADAM P. SILVERMAN                          GLENVIEW, IL
       ADELMAN & GETTLEMAN, LTD.
       53 W. JACKSON BLVD., SUITE 1050
       CHICAGO, IL 60604
87.    THIRD MILLENNIUM REAL ESTATE                   REAL PROPERTY LEASE:               $0.00
       L.L.C.                                         6469 N. LINCOLN AVE.,
       C/O ADAM P. SILVERMAN                          LINCOLNWOOD, IL
       ADELMAN & GETTLEMAN, LTD.
       53 W. JACKSON BLVD., SUITE 1050
       CHICAGO, IL 60604
88.    TOGI RE I, LLC                                 REAL PROPERTY LEASE:               $16,075.00*
       C/O ADAM P. SILVERMAN                          515 ROOSEVELT ROAD,
       ADELMAN & GETTLEMAN, LTD.                      GLEN ELLYN, IL
       53 W. JACKSON BLVD., SUITE 1050
       CHICAGO, IL 60604
89.    TOGI RE I, LLC                                 REAL PROPERTY LEASE:               $0.00
       C/O ADAM P. SILVERMAN                          860 E. BOUGHTON RD.,
       ADELMAN & GETTLEMAN, LTD.                      BOLINGBROOK, IL
       53 W. JACKSON BLVD., SUITE 1050
       CHICAGO, IL 60604
90.    3158 W 95TH STREET LLC                         REAL PROPERTY LEASE:               $4,369.60
       C/O COMAR PROPERTIES                           3152 W 95TH ST,
       17W220 22ND STREET                             EVERGREEN PARK, IL
       OAKBROOK TERRACE, IL 60181
91.    BAILEY LEE AND SUSAN LUM TRUST                 REAL PROPERTY LEASE:               $2,413.33
       C/O AM-PAC PROPERTIES                          7090 MEXICO ROAD, SAINT
       4050 WYCOMBE DRIVE                             PETERS, MO
       SACRAMENTO, CA 95864
92.    BROOKWOOD CENTER, LLC                          REAL PROPERTY LEASE:               $2,362.09
       4700 W. CERMAK ROAD                            230 N. WEBER ROAD,
       CHICAGO, IL 60804-2523                         BOLINGBROOK, IL
93.    CIBC                                           BANKING SERVICE                    $0.00
       C/O ERIC S. REIN                               AGREEMENT
       KILPATRICK
       500 W. MADISON ST., SUITE 3700
       CHICAGO, IL 60661
94.    CLEAR                                          BANKING SERVICE                    $5,848.39
       200 CLARENDON STREET                           AGREEMENT
       BOSTON, MA 02116
95.    CONNECTRIA                                     SOFTWARE LICENSING                 $46,375.83
       10845 OLIVE BLVD., SUITE 300
       ST. LOUIS, MO 63141




*
 To preclude a double payment, all inter-debtor cure payments were returned to the payors because the amounts
owed—consisting of real-estate taxes—were paid in connection with the sale.


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No.   Party Name and Address             Description                   Cure Amount
96.   CORE 3 PROPERTIES                  REAL PROPERTY LEASE:          $1,433.25
      1707 E. HAMILTON ROAD, SUITE 1A    1103 MARTIN LUTHER
      BLOOMINGTON, IL 61704              KING JR. DRIVE, SUITE B,
                                         BLOOMINGTON, IL
97.  EMO PROPERTIES, LLC                 REAL PROPERTY LEASE:          $15,820.00
     C/O DANIEL BROWN                    338 W. ARMY TRAIL RD.,
     WILLIAMS BARBER MOREL               BLOOMINGDALE, IL
     233 S. WACKER DR, STE 6800
     CHICAGO, IL 60606
98. FOREMOST FARMS USA                   PURCHASE CONTRACT             $74,214.21
     C/O JUSTIN MERTZ
     MICHAEL BEST
     790 N WATER ST., SUITE 2500
     MILWAUKEE, WI 53202
99. GOODWIN RECRUITING                   EMPLOYMENT AGENCY             $0.00
     135 HOOKSET ROAD
     MANCHESTER, NH 03104
100. GRECO/REGGI DEVLOPMENT, LLC         REAL PROPERTY LEASE:          $4,854.80
     1307 SCHIFERL ROAD                  879 W. 95TH ST., SUITE 155,
     BARTLETT, IL 60103                  NAPERVILLE, IL
101. GSP PARK FLETCHER, LLC              REAL PROPERTY LEASE:          $5,838.26
     C/O HALAKER PROPERTY                2040 SOUTH LYNHURST
     9245 N. MERIDIAN STREET             DRIVE, SUITE N,
     INDIANAPOLIS, IN 46260              INDIANAPOLIS, INDIANA
102. IDEAL FOOD GROUP                    CUSTOMER AGREEMENT            $0.00
     PO BOX 5002
     ZIONSVILLE, IN 46077
103. IRC DOWNERS GROVE                   REAL PROPERTY LEASE:          $6,765.21
     MARKETPLACE, LLC                    60 OGDEN AVE. AND 58
     C/O COMAR PROPERTIES                OGDEN AVE., DOWNERS
     17W220 22ND STREET                  GROVE, IL
     OAKBROOK TERRACE, IL 60181
104. J.J. KELLER & ASSOC.                VENDOR AGREEMENT              $309.00
     PO BOX 548
     NENAH, WI 54957-0548
105. PLYMOUTH INDUSTRIAL CENTER,         REAL PROPERTY LEASE:          $1,928.22
     INC.                                12807 PREMIER CENTER
     13101 ECKLES ROAD                   COURT, PLYMOUTH, MI
     PLYMOUTH MI 48170
106. PMA COMPANIES, INC                  THIRD PARTY PROVIDER          $0.00
     380 SENTRY PARKWAY                  (BENEFITS, PAYROLL)
     PO BOX 3031
     BLUE BELL, PA 19422-0754
107. QUADIENT LEASING                    LEASE: EQUIPMENT              $0.00
     PO BOX 123689
     DEPARTMENT 3689
     DALLAS, TX 75312-3689




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No.  Party Name and Address             Description               Cure Amount
108. SAJE NETWORK SYSTEMS               SOFTWARE LICENSING        $0.00
     PO BOX 487
     LAFAYETTE, CO 80026
109. SECURITY METRICS                   VENDOR AGREEMENT          $4,000.00
     1275 W. 1600 N.
     OREM, UT 84057
110. TECHWIZARD                         SOFTWARE LICENSING        $0.00
     503 E. NIFONG BLVD., #210
     COLUMBIA, MO 65201
111. TEKLYNX                            SOFTWARE LICENSING        $0.00
     501 W. NORTHSHORE DR.
     SUITE H-380
     GLENDALE, WI 53217
112. WHEATON RETAIL WHEATON, IL LLC     REAL PROPERTY LEASE:      $4,358.23
     PO BOX 93070                       811 BUTTERFIELD ROAD,
     ROCHESTER, NY 14692                SUITE 119, WHEATON, IL
113. WSC WINDSTREAM                     VENDOR AGREEMENT          $4,079.22
     4005 RODNEY PARHAM ROAD
     LITTLE ROCK, AR 72212




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